                                   Case 21-30409-lkg                Doc 1        Filed 06/01/21           Page 1 of 22


Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF ILLINOIS

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Spengler Plumbing Company, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1402 Frontage Road
                                  O Fallon, IL 62269-1862
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Saint Clair                                                     Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                       Case 21-30409-lkg                Doc 1         Filed 06/01/21              Page 2 of 22
Debtor    Spengler Plumbing Company, Inc.                                                               Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                      $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                   operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                              exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                                The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.
                                                                  debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a                          Southern District of
     separate list.                               District   Illinois                      When       7/19/19                    Case number   19-30958
                                                  District                                 When                                  Case number




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
                                           Case 21-30409-lkg                Doc 1         Filed 06/01/21            Page 3 of 22
Debtor    Spengler Plumbing Company, Inc.                                                                 Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
                            Case 21-30409-lkg             Doc 1       Filed 06/01/21          Page 4 of 22
Debtor   Spengler Plumbing Company, Inc.                                            Case number (if known)
         Name

                             $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                             $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                             $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
                                   Case 21-30409-lkg                 Doc 1        Filed 06/01/21              Page 5 of 22
Debtor    Spengler Plumbing Company, Inc.                                                          Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      June 1, 2021
                                                  MM / DD / YYYY


                             X   /s/ Jason Spengler                                                       Jason Spengler
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Steven M. Wallace                                                     Date June 1, 2021
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Steven M. Wallace
                                 Printed name

                                 Silver Lake Group, Ltd
                                 Firm name

                                 6 Ginger Creek Village Drive
                                 Glen Carbon, IL 62034
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     618-692-5512                  Email address      steve@silverlakelaw.com

                                 6198917 IL
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
                                           Case 21-30409-lkg                   Doc 1        Filed 06/01/21                Page 6 of 22


 Fill in this information to identify the case:
 Debtor name Spengler Plumbing Company, Inc.
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF ILLINOIS                                                                                Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Chase                                                           Credit Card                                                                                                $6,518.99
 P.O. Box 9001871
 Louisville, KY
 40290-1871
 Citi Cards                                                      Credit Card                                                                                              $11,226.66
 Processing Center
 Des Moines, IA
 50363
 Citi Cards                                                      Credit Card                                                                                              $45,031.85
 Processing Center
 Des Moines, IA
 50363
 Easy Water                                                      Business expense                                                                                         $15,180.00
 9715 Kincaid Drive
 Suite 1100
 Fishers, IN 46037
 Easy Water                                                      Business expense                                                                                         $15,180.00
 9715 Kincaid Drive
 Suite 1100
 Fishers, IN 46037
 Illinois Department                                             Tax Debt                                                                                                   $6,713.08
 of Revenue
 BK Unite Level
 7-425
 100 Randolph Street
 Chicago, IL 60601
 Internal Revenue                                                Tax Debt                                                                                                 $78,449.84
 Service
 P. O. Box 7346
 Philadelphia, PA
 19101-7346
 Isuzu Finance of                                                Business expense                                                                                           $6,298.50
 America, Inc.
 7865 Solution
 Center
 Chicago, IL
 60677-7008


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
                                           Case 21-30409-lkg                  Doc 1         Filed 06/01/21                Page 7 of 22



 Debtor    Spengler Plumbing Company, Inc.                                                                    Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Johnstone Supply                                                Business expense                                                                                           $6,714.89
 3425 Bridgeland
 Drive
 Bridgeton, MO
 63044
 Leasing Associates                                              Business expense                                                                                         $24,173.00
 P.O. Box 203174
 Dallas, TX 75320
 Local Business                                                  Business expense                                                                                         $19,161.02
 Search, LLC
 1715 E. Belleville
 Ave.
 Belleville, IL 62221
 Luby Shoring                                                    Business expense                                                                                           $6,227.00
 Services
 2300 Cassens Dr.
 Fenton, MO 63026
 Plumbers &                                                      Alleged Pension        Disputed                                                                        $753,000.00
 Pipefitters Local 101                                           Withdrawal
 c/o Hammond and                                                 Liability
 Shinners, PC
 13205 Manchester
 Road, Suite 210
 Saint Louis, MO
 63131
 Plumbers Local                                                  Alleged Pension        Disputed                                                                        $234,668.00
 #360 Pension Plan                                               Withdrawal
 c/o Hammond and                                                 Liability
 Shinners, PC
 13205 Manchester
 Road, Suite 210
 Saint Louis, MO
 63131
 Plumbers Locals                                                 NLRB Settlement                                                                                        $402,805.00
 101 and 360                                                     Agreement for
 c/o Hammond and                                                 payment of union
 Shinners, PC                                                    benefits
 13205 Manchester
 Road, Suite 210
 Saint Louis, MO
 63131
 Plumbing HVAC                                                   Business Expense                                                                                           $7,470.00
 3401 NW 82 Ave.
 #350
 Miami, FL 33122
 Rice Sullivan, LLC                                              Business expense                                                                                           $8,795.07
 3121 N. Illinois St.
 Suite A
 Belleville, IL 62226
 Spectrum Reach                                                  Business expense                                                                                         $17,903.45
 P.O. Box 957926
 Saint Louis, MO
 63195

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
                                           Case 21-30409-lkg                  Doc 1         Filed 06/01/21                Page 8 of 22



 Debtor    Spengler Plumbing Company, Inc.                                                                    Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 St. Clair Service                                               Business expense                                                                                           $8,154.25
 Company FS
 1036 South Green
 Mount Rd
 Belleville, IL 62220
 Union Leasing, Inc.                                             Business Expense                                                                                         $15,322.49
 425 N. Martingale
 Road
 Suite 600
 Schaumburg, IL
 60173




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
    Case 21-30409-lkg   Doc 1   Filed 06/01/21   Page 9 of 22



}
b
k
1
{
C
r
e
d
i
t
o
A
s
M
a
x




            Advance Acceptance Divisions
            First Western Bank & Trust
            100 Prairie Center Drive
            Eden Prairie, MN 55344


            AdvantaClean of Madison County
            3407 S. Jefferson Ave.
            Saint Louis, MO 63118


            Amazon
            410 Terry Ave N
            Seattle, WA 98109-5210


            Ameren Illinois
            PO Box 88034
            Chicago, IL 60680


            Atlas Supply Co.
            3820 Dr. Martin Luther King Dr.
            Saint Louis, MO 63113


            Back & Neck Pain Center
            1601 W. US Hwy 50
            O Fallon, IL 62269


            Bank of Belleville
            215 S. Illinois St.
            Belleville, IL 62220


            Bank of O'Fallon
            901 S Lincoln Ave
            O Fallon, IL 62269


            Belleville News Democrat
            P.O. Box 427
            Belleville, IL 62222


            Belleville Supply
            700 S. Third St.
            Belleville, IL 62222


            Benefit Plans Plus, LLC
            6 City Place Drive
            Suite 700
            Saint Louis, MO 63141
Case 21-30409-lkg   Doc 1   Filed 06/01/21   Page 10 of 22




        BirdDog HR
        4453 NW Urbandale Dr
        Des Moines, IA 50322


        BMW Financial Services
        P.O. Box 3608
        Phoenix, AZ 85062-8103


        Bobcat of St. Louis
        401 W. Outer Road
        Valley Park, MO 63088


        Bruce's Auto Repair
        202 E. 4th Street
        O Fallon, IL 62269


        Bugg Masonry, Inc.
        48 Innsbruck Lane
        Belleville, IL 62221


        CC Food Mart Shell
        315 E State St.
        Hamel, IL 62046


        CCP Industries
        PO Box 734569
        Chicago, IL 60673


        CeeKay Supply, Inc.
        P.O. Box 840015
        Kansas City, MO 64184-0015


        Chase
        P.O. Box 9001871
        Louisville, KY 40290-1871


        Chase
        PO Box 78116
        Phoenix, AZ 85062-8116


        CIT Verizon
        21146 Network Place
        Chicago, IL 60674-1211
Case 21-30409-lkg   Doc 1   Filed 06/01/21   Page 11 of 22




        Citi Cards
        Processing Center
        Des Moines, IA 50363


        City of Belleville
        101 S Illinois St
        Belleville, IL 62220


        City of O'Fallon
        255 South Lincoln
        O Fallon, IL 62269


        Clearwave Communications
        PO Box 606
        Harrisburg, IL 62946


        CNA Surety Direct
        P.O. Box 957312
        Saint Louis, MO 63195-7312


        Concrete Supply of Illinois
        One Racehorse Drive
        East Saint Louis, IL 62205


        Connor Co.
        #3 Business Center Court
        Collinsville, IL 62234


        Creative Landscapes
        5515 Old Collinsville Road
        Fairview Heights, IL 62208


        Crescent Parts & Equipment
        P.O. Box 790379
        Saint Louis, MO 63179


        Da-Com Corporation
        5317 Knights of Columbus
        Saint Louis, MO 63119


        Da-Com Corporation
        P.O. Box 660831
        Dallas, TX 75266
Case 21-30409-lkg   Doc 1   Filed 06/01/21   Page 12 of 22




        Dallas Plastering Co
        1105 Old Vicennes Trail
        O Fallon, IL 62269


        DDI Media
        8315 Drury Industrial Pkwy
        Saint Louis, MO 63114


        Degel Truck Center
        2304 Gravois St.
        Saint Louis, MO 63104


        Dobbs Tire & Auto Centers
        1983 Brennan Plaza
        High Ridge, MO 63049


        Don's Hardware, Inc.
        1454 Boul Ave.
        Belleville, IL 62226


        E.J. Equipment
        P.O. Box 665
        6949 N. 3000 E. Road
        Manteno, IL 60950


        Eagle Publications, Inc.
        11 Executive Drive
        Suite 10
        Fairview Heights, IL 62208


        Easy Water
        9715 Kincaid Drive
        Suite 1100
        Fishers, IN 46037


        Edwardsville Winnelson Co.
        101 First Avenue
        Edwardsville, IL 62025


        Energy Petroleum Co.
        2130 Kienlen Ave.
        Saint Louis, MO 63121
Case 21-30409-lkg   Doc 1   Filed 06/01/21   Page 13 of 22




        Engie Resources
        PO Box 9001025
        Louisville, KY 40290-1025


        Erie Insurance Co.
        100 Erie Insurance Pl.
        Erie, PA 16530


        Estes
        P.O. Box 25612
        Richmond, VA 23260


        Express Medical Care, LLC
        5031 N. Illinois St.
        Fairview Heights, IL 62208-3453


        Fastenal Company
        PO Box 978
        Winona, MN 55987


        Federated Insurance
        121 East Park Square
        Owatonna, MN 55060


        FedEx
        PO Box 371461
        Pittsburgh, PA 15250-7461


        Ford Credit
        P. O. Box 790093
        Saint Louis, MO 63179-0093


        Frontier Communications
        PO Box 20550
        Rochester, NY 14602


        Gateway FS
        221 E. Pine St.
        PO Box 20550
        Red Bud, IL 62278


        Gier Oil Co., Inc.
        301 E 8Th St.
        Eldon, MO 65026
Case 21-30409-lkg   Doc 1   Filed 06/01/21   Page 14 of 22




        GPS Track It
        1080 Holcomb Bridge Rd, Bldg 200
        Roswell, GA 30076


        Grant Rental Station
        5612 N. Illinois St.
        Fairview Heights, IL 62208


        Hague Quality Water
        4343 S. Hamilton Road
        Groveport, OH 43125


        Harrisonville Telephone Co.
        P.O. Box 146
        Waterloo, IL 62298


        Hibu, Inc.
        P.O. Box 3162
        Cedar Rapids, IA 52406-3162


        Hitachi Capital
        800 Connecticut Ave
        Norwalk, CT 06854


        HItachi Capital America Corp.
        21925 Network Place
        Chicago, IL 60673


        HSHS Medical Group, Inc.
        P.O. Box 4057
        Carol Stream, IL 60197-4057


        Huck's
        1029 Lincoln Hwy
        Fairview Heights, IL 62208


        Huffman Law Office
        2225 N. Center St.
        Maryville, IL 62062


        HVAC Parts Shop
        1900 E. 123rd St.
        Olathe, KS 66061
Case 21-30409-lkg   Doc 1   Filed 06/01/21   Page 15 of 22




        IL-MO Pump & Supply, Inc.
        1101 St. Louis Ave.
        East Saint Louis, IL 62202


        Illinois Department of Revenue
        BK Unite Level 7-425
        100 Randolph Street
        Chicago, IL 60601


        Insurance Support Center
        P.O. Box 680001
        Dallas, TX 75368


        Internal Revenue Service
        P. O. Box 7346
        Philadelphia, PA 19101-7346


        Iron Mountain
        P.O. Box 27128
        New York, NY 10087


        Isuzu Finance of America, Inc.
        7865 Solution Center
        Chicago, IL 60677-7008


        J & J Land Trust
        1402 Frontage Road
        O Fallon, IL 62269


        J&J Land Trust
        1402 Frontage Road
        O Fallon, IL 62269


        J&J Septic & Sewer Cleaning, LLC
        5574 Sportman Road
        Waterloo, IL 62298


        Jackson Lewis, P.C.
        P.O. Box 416019
        Boston, MA 02241-6019


        Jason Spengler
        1402 Frontage Road
        O Fallon, IL 62269
Case 21-30409-lkg   Doc 1   Filed 06/01/21   Page 16 of 22




        Joe's Carpet City
        4149 Pontoon Road
        Granite City, IL 62040


        Johnstone Supply
        3425 Bridgeland Drive
        Bridgeton, MO 63044


        Kerber, Eck & Braeckel LLP
        852 Cambridge Blvd., Suite 100
        O Fallon, IL 62269


        Kitchenland
        201 W. High Street
        Edwardsville, IL 62025


        Kohnen Concrete Products, Inc.
        503 Green Street
        Germantown, IL 62245


        Leasing Associates
        P.O. Box 203174
        Dallas, TX 75320


        Lee's Home Center
        1 S. Illinois St.
        Millstadt, IL 62260


        Lennox
        251 Corporate Woods Place
        Bridgeton, MO 63044


        Liese Lumber Co Inc.
        319 E. Main Street
        Belleville, IL 62220


        Local Business Search, LLC
        1715 E. Belleville Ave.
        Belleville, IL 62221


        Lohrberg Lumber, Inc.
        5662 L Road
        Waterloo, IL 62298
Case 21-30409-lkg   Doc 1   Filed 06/01/21   Page 17 of 22




        Lowe's
        PO Box 530914
        Atlanta, GA 30353-0914


        Luby Shoring Services
        2300 Cassens Dr.
        Fenton, MO 63026


        Market American Insurance Co.
        P.O. Box 791145
        Baltimore, MD 21279


        McAuliffe Chiropractic Office
        109 Wedgewood Dr
        Columbia, IL 62236


        Menards
        PO Box 5219
        Carol Stream, IL 60197


        Merchant's Bonding Co.
        PO Box 310180
        Des Moines, IA 50331


        Midwest Municipal
        P.O. Box 607
        Caseyville, IL 62232


        Midwest Turf Management
        4533 Wanda R
        Edwardsville, IL 62025


        Mike's Pool & Spa Service
         506 S Lincoln Ave
        O Fallon, IL 62269


        MJ Products, Inc.
        403 Biltmore Dr.
        Fenton, MO 63026


        Northwestern Mutual
        26 Ginger Creek Pkwy Suite 200
        Glen Carbon, IL 62034
Case 21-30409-lkg   Doc 1   Filed 06/01/21   Page 18 of 22




        O'Fallon Chamber of Commerce
        P.O. Box 371
        O Fallon, IL 62269


        O'Reilly Automotive Stores, Inc.
        P.O. Box 9464
        Springfield, MO 65801


        Old Republic Surety Company
        P.O. Box 1635
        Milwaukee, WI 53201


        Pass Security
        15 Executive Drive
        Suite 6
        Fairview Heights, IL 62208


        Pitney Bowes Global Finc Services
        PO Box 371887
        Pittsburgh, PA 15250


        Pitney Bowes Purchase Power
        PO Box 371887
        Pittsburgh, PA 15250-7887


        Plumbers & Pipefitters Local 101
        c/o Hammond and Shinners, PC
        13205 Manchester Road, Suite 210
        Saint Louis, MO 63131


        Plumbers Local #360 Pension Plan
        c/o Hammond and Shinners, PC
        13205 Manchester Road, Suite 210
        Saint Louis, MO 63131


        Plumbers Locals 101 and 360
        c/o Hammond and Shinners, PC
        13205 Manchester Road, Suite 210
        Saint Louis, MO 63131


        Plumbers Supply Company
        Attn: Terry Hutton
        12012 Manchester Road
        Saint Louis, MO 63131
Case 21-30409-lkg   Doc 1   Filed 06/01/21   Page 19 of 22




        Plumbing HVAC
        3401 NW 82 Ave. #350
        Miami, FL 33122


        Premier Companies
        2000 Mallory Lane
        Suite 130-138
        Franklin, TN 37067


        Quad County Red-E-Mix
        P.O. Box 504920
        Saint Louis, MO 63150-4920


        Quivey County Ready Mix Corp.
        PO Box 604
        Sparta, IL 62286


        Randolph Signs
        7591 Pautler Road
        Evansville, IL 62242


        Reppert's of Sparta
        18 W. Broadway
        Sparta, IL 62286


        Republic Services
        PO Box 9001099
        Louisville, KY 40290


        Rice Sullivan, LLC
        3121 N. Illinois St.
        Suite A
        Belleville, IL 62226


        Roger's Redi-Mix
        55 E. Mill Street
        Red Bud, IL 62278


        Roll-Off's To Go, Inc.
        P.O. Box 21
        Waterloo, IL 62298


        Rotary Wheels
        801 East State Street
        O Fallon, IL 62269
Case 21-30409-lkg   Doc 1   Filed 06/01/21   Page 20 of 22




        Schulte Supply, Inc.
        5998 Redbud Lane
        Edwardsville, IL 62025


        ServiceMaster Restoration by ATK
        1392 Frontage Road
        Unit 10
        O Fallon, IL 62269


        Sherwin-Williams Co.
        4260 S State Route 159 #2
        Glen Carbon, IL 62034-3201


        Sonnenberg Asphalt Co., Inc.
        1460 Frank Scott Parkway West
        Belleville, IL 62223


        Spectrum Reach
        P.O. Box 957926
        Saint Louis, MO 63195


        St. Clair Service Company FS
        1036 South Green Mount Rd
        Belleville, IL 62220


        St. Elizabeth's Hospital
        P.O. Box 6580
        Carol Stream, IL 60197-6580


        St. Louis Composing, Inc.
        5841 Mine Haul Road
        Belleville, IL 62226


        State Farm Insurance
        P. O. Box 20718
        Murfreesboro, TN 37129-0703


        Swansea Rural King
        2801 N. Illinois Street
        Belleville, IL 62221


        Tech Electronics, Inc.
        6437 Manchester Ave.
        Saint Louis, MO 63139
Case 21-30409-lkg   Doc 1   Filed 06/01/21   Page 21 of 22




        Trane Company
        PO Box 848343
        Dallas, TX 75284


        Union Leasing
        425 N Martingale Rd
        Schaumburg, IL 60173


        Union Leasing, Inc.
        425 N. Martingale Road
        Suite 600
        Schaumburg, IL 60173


        Valvolene Fleet Services
        P.O. Box 74008513
        Chicago, IL 60674-8513


        Vanguard Truck Center
        P.O. Box 2208
        Decatur, AL 35609


        Verizon Credit, Inc.
        21146 Network Place
        Chicago, IL 60673-1211


        Verizon Wireless
        Attn: Bankruptcy Dept.
        1515 Woodfield Road
        Schaumburg, IL 60173


        Walmart
        702 S.W. 8th St.
        Bentonville, AR 72716


        Warning Lights of Southern Illinois
        9441 Lebanon Road
        East Saint Louis, IL 62203


        Waste Management
        PO Box 9001054
        Louisville, KY 40290-1054


        Wells Fargo
        PO Box 14411
        Des Moines, IA 50306
Case 21-30409-lkg   Doc 1   Filed 06/01/21   Page 22 of 22




        Wells Fargo Equipment Finance
        PO Box 858178
        Minneapolis, MN 55485


        Wells Fargo Vendor Fin Service
        PO Box 105743
        Atlanta, GA 30348-5743


        Wilke Window & Door
        3500 Lebanon Ave.
        Belleville, IL 62221


        Wisper ISP
        9711 Fuesser Road
        Mascoutah, IL 62258


        Wright Do It Center
        PO Box 730747
        Dallas, TX 75373


        York/JCI
        P.O. Box 730747
        Dallas, TX 75373
